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                         IN THE UNITED STATES DISTRICT COURT
                       r.OR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                       No. 1:16-cv-08637
LITIGATION

This Document Relates To: ALL CASES



                               ORDER ON STIPULATION
                           REGARDING AMENDED COMPLAINT

           This Court, having considered the Stipulation Regarding Amended Complaint by and

between Direct Purchaser Plaintiffs, Commercial and Institutional Indirect Purchaser Plaintiffs,

End-User Consumer Plaintiffs (collectively "Plaintiffs") and Foster Farms, LLC, hereby orders

that:

           l.    Plaintiffs are granted leave to amend their respective Complaints (DkJ.. 212,253,

255) to add Foster Poultry Farms, a California Corporation (hereinafter Foster Poultry Farms) as

a Defendant.


           2.    Foster Farms, LLC's Motions to Dismiss (Dkts. 279,280,284,289) and related

briefing will be treated as though the motions were made on behalf of Foster Poultry Farms       as


well. Any ruling on the motions to dismiss filed by Foster Farms, LLC will be a ruling for
purposes of Foster Poultry Farms as well.

           3.    Foster Poultry Farms   will provide initial disclosures on its own behalf no later

than October 13, 2017, including those required by Fed. R. Civ. P. 26(a)(l), the Court's

December 21,2016, Order (Dkt. 264), and the provisions of Interim Scheduling Order No. I

(Dkt. 388) relating to phone record preservation and possession, custody, or control of

cellphones.


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          4.     Foster Poultry Farms must identifr proposed document sources (i.e., custodians

and centalized sources) by October 13, 2017 and the parties          will   meet and confer regarding

custodians by October 20,2017.

          5.     Foster Poultry Farms   will provide responses to each of the Plaintiffs initial   sets   of
Requests   for Production by October 4, 2017. Foster Poultry Farms will be bound by any

agreement(s) reached    by Foster Farms, LLC with Plaintiffs regarding its responses to              each

Plaintiffs initial set of Requests for Production.



          IT IS SO ORDERED.



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                                                             RABLE THOMAS M. DURKIN
                                                        UNITED STATES DISTRICT JUDGE




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